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                         ATTACHMENT 2
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                                      DECLARATION OF CRISTOBAL CAVAZOS

                          EXECUTIVE DIRECTOR, IMMIGRANT SOLIDARITY DUPAGE
            I, Cristobal Cavazos, declare as follows:
            1.       I am the Executive Director of Immigrant Solidarity DuPage. Immigrant Solidarity

            DuPage (“ISD”) is a membership organization based in Wheaton, Illinois. serving workers from

            DuPage and west suburban Chicago. ISD’s mission is to educate, organize, and mobilize DuPage

            County around the rights, culture and collective struggles of the Latino community. ISD organizes

            workers in campaigns to advance the dignity of workers. We operate a community center named

            Casa DuPage, where ISD offers classes, cultural events, meetings and community education. Our

            community education includes classes on workers’ rights, immigrants’ rights, and classes on

            community wellbeing. ISD also assists workers in organizing campaigns to fight for their rights in

            cases of workplace abuse and to improve working conditions throughout its service area.

            2.       Many of ISD’s members work in the United States even though they lack an immigration

            status that would allow them to receive a Social Security Number (SSN). They are nonetheless

            required to pay federal income taxes on their earnings, as well as taxes that support the Social

            Security and Medicare programs, from which they may not receive any benefits.

            3.       Congress created an alternative means of identifying taxpayers who lack a SSN, known as

            an Individual Taxpayer Identification Number or ITIN. To obtain an ITIN, one must complete an

            application that includes the applicant’s name and address and other identifying information. When

            they file their federal tax returns, they use their ITIN number and must include their current address

            (which may be different from the address used to obtain an ITIN), as well as information regarding

            their dependents and their sources of income.
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            4.       ISD encourages our members who lack SSNs but who earn enough money to be obligated

            to pay federal taxes to file tax returns and pay any money that they owe. We do this not only

            because the law requires the payment of income taxes owed, but also because many of our

            members hope to regularize their immigration status in the future and it may be more difficult for

            them to adjust their status if they have unpaid federal taxes. In addition, willful failure to pay

            federal income taxes is a crime, and untimely payment can subject the taxpayer to interest and

            penalties.

            5.       When we counsel our members without SSNs to obtain an ITIN to pay their federal taxes,

            we generally inform them that the Tax Code protects them from having the information that they

            provide to the IRS disclosed to people outside the IRS, including to those working for other parts

            of the federal government. This protection is vital to our members who lack SSNs and might be

            subject to removal from the United States. That risk would increase significantly if DHS and other

            agencies of the federal government had access to tax returns and related records.

            6.       The members of ISD that I have personal experience working with desire and endeavor to

            comply with their obligations under federal income tax laws. However, these members also fear

            immigration raids and detentions by DHS and other federal agents, separation from their families

            and communities, and forced removal from the country where they have made their lives. If their

            ITIN and other tax return information is disclosed to DHS despite the protections of the Tax Code,

            the removal risk will increase substantially, given public announcements by the Trump

            Administration. Moreover, my experience suggests that workers without SSNs who do not already

            have ITIN numbers will be much less likely to obtain them and pay federal income taxes if the

            IRS is used as a way to enforce immigration through this unlawful information sharing, despite

            the express protections in the Tax Code.
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                     Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the foregoing

            statements are true and correct. Dated this 13 day of March 2025

                                                      ______________________
                                                      Cristobal Cavazos
